Filed 8/26/24 P. v. Lara CA4/1
                   NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for publication or
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purposes of rule 8.1115.


                  COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                       DIVISION ONE

                                              STATE OF CALIFORNIA



 THE PEOPLE,                                                                  D082155

            Plaintiff and Respondent,

            v.                                                                (Super. Ct. No. FSB1200952)

 JOSE RAMON LARA,

            Defendant and Appellant.


          APPEAL from an order of the Superior Court of San Bernardino
County, Annemarie G. Pace, Judge. Affirmed.
          Jennifer A. Gambale, under appointment by the Court of Appeal, for
Defendant and Appellant.
          Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General,
Junichi P. Semitsu and Eric A. Swenson, Deputy Attorneys General for
Plaintiff and Respondent.
                                       I
                              INTRODUCTION
      Jose Ramon Lara and codefendants John David Salazar and Anthony
John Legaspi are members of the Varrio Redlands (VR) criminal street gang.
One day, Legaspi was attacked by a group of 10 to 15 Black men, which
humiliated him in the eyes of his fellow gang members. Later that day, Lara
provided a loaded firearm to Legaspi and Salazar drove him to the area
where he had been jumped. There, Legaspi shot at five Black teenagers he
mistakenly believed to have been involved in the attack, killing two of them.
A jury found all three defendants guilty of the murders of two of the
teenagers, Quinn McCaleb and Andrew Jackson, and it found them guilty of
the attempted murders of the remaining three teenagers, T.T., J.H., and A.P.
      In this postjudgment proceeding, Lara appeals an order denying a
petition seeking vacatur of his convictions and resentencing under Penal

Code section 1172.6.1 He argues the trial court erred by denying his petition
because substantial evidence does not support the court’s finding that he
remains guilty of the two murders and three attempted murders under
current law. We reject this argument and affirm the order denying the
resentencing petition.
                                      II
                               BACKGROUND
    A. The Trial and Direct Appeal
      On March 4, 2013, the San Bernardino County district attorney
charged Lara, Salazar, and Legaspi by first amended information with the
first degree murders of McCaleb and Jackson (counts 1 and 2; § 187,
subd. (a)); the attempted willful, deliberate, and premeditated murders of


1     Further undesignated statutory references are to the Penal Code.
                                      2
T.T., J.H., and A.P. (counts 3–5; §§ 187, subd. (a), 664, subd. (a)); and street
terrorism (count 7; § 186.22, subd. (a)). The district attorney also charged
Lara with being an accessory after the fact (count 6; § 32). For the murder
and attempted murder charges, the amended information alleged a principal
(Legaspi) personally and intentionally discharged a firearm, causing great
bodily injury or death. (§ 12022.53, subds. (b)–(d), (e)(1).) It also alleged
gang enhancements for the murder, attempted murder, and accessory-after-
the-fact charges (§ 186.22, subd. (b)), and it alleged prison prior
enhancements against Lara and Salazar (§ 667.5, subd. (b)).
        After a trial, a jury found the defendants guilty of all charges and found
the firearm and gang enhancement allegations true. In a bifurcated
proceeding, Lara and Salazar admitted the prison priors. The trial court
sentenced Lara and Salazar to indeterminate prison terms of 197 years to
life. It sentenced Legaspi to an indeterminate prison term of 220 years to
life.
        The defendants appealed their judgments and our court reversed Lara
and Salazar’s first degree murder convictions pursuant to People v. Chiu
(2014) 59 Cal.4th 155, which held that an aider and abettor may be convicted
of second degree murder, but not first degree premeditated murder, under

the natural and probable consequences doctrine.2 (People v. Legaspi (Mar.
17, 2016, D068710) [nonpub. opn.].) We remanded the matter to the trial
court with instructions to give the district attorney an opportunity to accept
reductions of Lara and Salazar’s murder convictions to second degree murder
or retry them for first degree premeditated murder on the ground they were
direct aiders and abettors. (Ibid.) On remand, the district attorney agreed to
reduce the murder convictions to second degree murder.


2       We also corrected a sentencing error in Lara and Salazar’s judgments.
                                         3
    B. Petition for Resentencing
       After the Legislature enacted Senate Bill No. 1437 (2017–2018 Reg.
Sess.), Lara filed a petition to vacate his murder and attempted murder
convictions and to be resentenced under former section 1170.95, which has
since been renumbered as section 1172.6. The trial court appointed counsel
for Lara, found he stated a prima facie case for relief, and set an evidentiary
hearing. Lara filed a brief in support of his petition and the district attorney
filed briefs in opposition. The parties did not submit new evidence at the
evidentiary hearing; instead, they relied solely on the record from the original

trial.3
          1. Trial Testimony of the Victims
       All three of the attempted murder victims, A.P., T.T., and J.H., testified
at the trial.
       A.P., T.T., J.H., McCaleb, and Jackson were friends or acquaintances of
one another. On January 5, 2011, shortly after 6:45 p.m., they met at

McCaleb’s house in Redlands with plans to go see a movie.4 None of the
teenagers was carrying a weapon, none of them had a confrontation with
anyone else that day, and there is no evidence any of them was a gang
member.
       The teenagers walked through an alleyway behind an apartment
building en route to a playground area. As they walked, A.P. noticed a car
stopped on the street near the entrance to the alleyway. After the teenagers
reached the playground area, a slim Hispanic male wearing a black hooded


3      We granted Lara’s unopposed request to augment the record for the
current appeal with the record from Appeal No. D068710, which contains the
clerk’s transcripts and reporter’s transcripts from the original trial.

4      Unless otherwise noted, all dates refer to the year 2011.
                                        4
sweatshirt—later identified as Legaspi—emerged from behind a corner near
the alleyway. He held a semiautomatic handgun and shouted something
about “where he was from.” He raised the handgun and fired several shots at
the unsuspecting teenagers, striking McCaleb, Jackson, T.T., and J.H. T.T.,
J.H., and A.P. survived the attack, but McCaleb and Jackson were killed.
         2. Trial Testimony of Codefendant Adrian Powers
      Adrian Powers was charged as a codefendant in the felony complaint
the district attorney originally filed against Lara, Salazar, and Legaspi. He
accepted a plea deal whereby he agreed to plead guilty to voluntary
manslaughter and manslaughter in connection with a criminal street gang if,
in exchange, he cooperated with law enforcement and testified truthfully in
hearings involving his codefendants. During his trial testimony, he provided
the following version of events, which served as the lynchpin for the
prosecution’s case.
      Lara, Salazar, and Legaspi were VR gang members and Powers was an
associate of the VR gang. At the time of the events described herein, Lara
was 27 years old, Salazar was 21 years old, Legaspi was 17 years old, and
Powers was 16 years old.
      On January 5, shortly after 5:30 p.m., Legaspi arrived at the home of
Jimmy Romero (Jimmy), a fellow VR gang member, and Roger Romero
(Roger), a member of a VR-affiliated gang. Jimmy, Roger, Salazar, and
Powers were congregated at the Romero home. When Legaspi arrived, he
told his comrades he had been jumped earlier in the day by 10 to 15 Black
men while he was trying to deliver drugs to someone. Legaspi told the others
his assailants said “bad stuff,” and one of them reached into his backpack and
said, “You don’t want any of this.” Legaspi believed the man had a gun, so he
ran away from his attackers.


                                       5
      Roger teased Legaspi about the incident and asked why he allowed it to
happen. Roger said, “Back in my day, I would not [have] allow[ed] that. If it
was me, I would have [gone] there and talked to them and already handled
the issue.” These comments angered and embarrassed Legaspi. Salazar,
Legaspi, and Powers then left the Romero home and walked to Lara’s house,
two doors down. On the way there, Salazar and Legaspi said, “let’s go get it,
let’s go get it,” and Salazar added, “let’s go get mine.” At trial, the
prosecution argued the men were referring to a firearm owned by Salazar—
i.e., the prosecution claimed Salazar and Legaspi planned to procure a gun
owned by Salazar for Legaspi to use to retaliate against his attackers.
      When Salazar, Legaspi, and Powers arrived at Lara’s house, they met
Lara and Todd Romero (Todd) in Lara’s converted garage. After two or three
minutes, Salazar and Legaspi left. Salazar said they were going to his
house—presumably to get Salazar’s gun—and would be back. While they
were gone, Lara laughed at the situation and said, “it was [Legaspi’s] own
fault he got jumped” because he was “walking over there by himself.” Salazar
and Legaspi returned after 20 minutes and Lara instructed Powers to wait

outside the garage.5 Powers complied, went outside, and smoked marijuana
while Lara, Salazar, Legaspi, and Todd remained in the garage.
      After a few minutes, Powers peeked in the screen door of the garage.
Legaspi and Salazar were standing up and facing a couch. Meanwhile, Lara
was seated on the couch and holding a black object wrapped in a blue




5     In an interview with law enforcement, Powers stated that, upon their
return to Lara’s garage, Salazar and Legaspi said they were “unable to get
it.” According to the prosecution, Salazar and Legaspi had tried—but were
unable—to obtain Salazar’s gun.
                                         6
bandana.6 The black object had a red dot on its handle. In the past, Lara
had shown Powers a semiautomatic firearm with a red dot on its handle
wrapped in a blue bandana; therefore, Powers believed Lara was holding the
same firearm. Soon after Powers peeked inside the garage, someone closed
the screen door on him.
      A few minutes later, someone opened the door and let Powers back in
the garage. When Powers came inside, Legaspi was wearing a black hooded
sweatshirt, his hand was tucked inside the front pocket of the sweatshirt, and
a blue bandana was peeking out of the pocket. Salazar said, “Let’s go, let’s go
find out where he got jumped at,” and Salazar, Legaspi, and Powers got into
Salazar’s car. Salazar sat in the driver seat, Legaspi sat in the front
passenger seat, and Powers sat in the backseat behind the driver seat. Todd
came out to the car and opened the car door, but at the last minute said, “No,
you guys are cool. Go ahead,” and closed the door without getting into the car.
At trial, Powers claimed he did not think anyone would be shot or killed at
that time. However, based on his association with the VR gang, he knew
“talking crap” to a VR member could easily escalate into violence and a fight
was always a possibility when he hung out with Salazar and Legaspi.
      Salazar drove his car to the area where Legaspi had been jumped and
Legaspi pointed somewhere outside the car and said, “I seen them. I seen the
guys who jumped me.” Powers could not tell exactly where Legaspi was
pointing from his position in the backseat, but he saw a man with a backpack
walking around the corner of a building. Salazar parked his car near the end
of the cul-de-sac by the building. He kept the car running and the car




6     Powers testified he did not see where Todd was standing or sitting in
the garage when he peeked inside it.
                                       7
headlights turned off. Legaspi said, “That’s them. That’s them. That’s them.
That’s the guys who jumped me.” Salazar added, “All right, let’s get them.”
      Legaspi and Powers exited the car and jogged in the direction of the
man wearing the backpack, with Legaspi running several feet ahead of
Powers. Legaspi had his hand in his jacket pocket and he held the black
object wrapped in the blue bandana. He turned one corner of a building and
then a second corner. Moments later, before Powers could turn the second
corner, Powers heard multiple gunshots. He immediately turned around, ran
to the car, got into the backseat, and urged Salazar to drive, but Salazar said,
“No, not without Anthony [Legaspi].” Ten or fifteen seconds later, Legaspi
ran back to the car and climbed into the front passenger seat. When Legaspi
got in, Powers asked him what happened and whether he was okay. Legaspi
assured his comrades he was okay and told Salazar to take him to his house.
Salazar remained silent, drove away at a normal speed, and kept his
headlights turned off until the car was a block away.
      Salazar then drove the group to Legaspi’s house in Beaumont. Once
there, Salazar and Legaspi went inside and told Powers to wait in the car.
About twenty minutes later, Salazar and Legaspi returned to the car and
Salazar drove all three of them back to Lara’s house. They walked into
Lara’s garage, which was unoccupied, and turned off the lights and the
television. Then, both Salazar and Legaspi cursed for a while and said they
had messed up.
      A few minutes later, Salazar, Legaspi, and Powers left Lara’s garage,
went to Todd’s house, and joined a group of people congregated around a
firepit. Lara arrived at Todd’s house about 15 minutes later. Legaspi used
the firepit at Todd’s house to burn the black hooded sweatshirt he had worn
during the shootings.


                                       8
      The next day, Powers walked to a liquor store and ran into Legaspi
while he was en route to the store. Legaspi threatened Powers not to speak
to law enforcement and chastised him for running away the previous day,
rather than picking up the empty shell casings. He added that Powers was
lucky he was not a full-fledged gang member, as he would have been beat up
and “jumped” out of the gang for not picking up the shell casings if he was a

member.7
      Two days later, Powers went to Lara’s house and Lara, Legaspi, and
another man were present. The television was playing a news program that
referenced the murders and Legaspi said, “Damn, I wonder how many I shot
or how many shots I fired.” All of the men laughed. A day or two later,
Powers returned to Lara’s home and learned that Salazar had driven
Legaspi, Lara, and another man out to the desert to dispose of the murder

weapon.8
         3. Cell Phone Records
      On January 5, between the hours of 5:30 p.m. and 9:28 p.m., Lara and
Salazar called each other on their cell phones a total of twelve times.
         4. Gang Evidence
      Redlands police officer Chad Mayfield testified as the prosecution’s
gang expert. In 2011, when the shootings occurred, he was a member of the
department’s specialized gang division.



7    On two other occasions after the shootings, Lara and Salazar instructed
Powers not to speak with law enforcement.

8     In a post-arrest interview with a detective from the Redlands police
department, Lara admitted to helping dispose of the murder weapon in the
desert and provided directions to its purported location, but law enforcement
was unable to locate the weapon.
                                       9
      According to Mayfield, VR is a predominately Hispanic gang in
Redlands that has between 50 and 100 members and 150 and 200 associates.
The parties stipulated that VR is a criminal street gang within the meaning
of section 186.22, subdivision (f). Its primary activities include narcotics
sales, weapons assaults, and theft offenses, such as robbery, burglary,
possession of stolen property and vehicles, and carjacking. Its members
engage in, or have engaged in, a pattern of criminal gang activity, and the
parties stipulated to five predicate offenses perpetrated by VR gang
members.
      Mayfield testified that Lara, Salazar, and Legaspi are all active
members of VR. According to Mayfield, Lara holds a higher status in the
gang than Salazar or Legaspi. Lara is a “mid-level manager” within VR, so
“the less influential members check in with him, keep him posted, [and] keep
him updated on the business of Varrio Redlands.” Mayfield agreed with the
prosecutor that Lara has the ability to oversee the criminal activities of
lower-level gang members. In his position, Lara can “make decisions within
the gang and ... send out lower-level gang members to do Varrio Redlands
business.”
      In Mayfield’s experience, VR members do not view Black people fondly
and they “do not want black gangs to start up in the city of Redlands.”
Mayfield testified that a VR gang member complaining to fellow gang
members about an attack from a group of Black people would invite a
response from the gang. According to Mayfield, VR members would want to
maintain their respect level in the neighborhood and show that Black people
cannot threaten them. He also testified that VR would not send two or three
unarmed members to retaliate against a larger group of 10 to 15 men. He
stated that if VR went to retaliate against a rival group, it could “turn into a


                                       10
shooting and homicide,” especially if the rival group had weapons or if its
members outnumbered the VR members. Mayfield testified that, as far as he
was aware, VR members did not use getaway drivers merely to instigate a
fist fight or a physical fight.
   C. Resentencing Order
      At the evidentiary hearing, the trial court denied Lara’s resentencing
petition and a separate resentencing petition filed by Salazar.
      In issuing its ruling, the court summarized the prosecution’s theory of
the case as follows: “[T]he People have argued today that with respect to the
murder charges, that the petitioners aided and abetted Legaspi, who was the
actual killer, with at least implied malice and then also with the express
malice of intent to kill. [¶] The People also assert that the petitioners aided
and abetted the attempted murders with intent to kill.” Then, after
summarizing these theories, the court concluded. “[T]he People have met
their burden of proof as to the theories they assert[ed].”
      The court issued a detailed set of factual findings, including findings
that “Lara provided the loaded murder weapon to Legaspi in the presence of
Salazar,” and Salazar “drove Legaspi and Adrian Powers ... to the area where
Legaspi was jumped” and “away from the crime scene” after the shootings.
The court found the petitioners’ “words or conduct did, in fact, aid and abet
the perpetrator[’s] commission of the crime. [¶] ... [¶] But for the actions of
each petitioner, these crimes could not have been committed. [¶] The 17-year-
old killer did not have a gun or a car, both of which were necessary to commit
the crime. [¶] ... [¶] Both before and after the crimes, Lara was involved in
the planning. Both before, during, and after the crime, Salazar was actively
involved in each stage. [¶] ... [¶] But for the substantial actions of each
petitioner, Andrew Jackson and Quinn McCaleb would be alive. [T.T.] and


                                        11
[J.H.] would not have been shot, and [A.P.] would not have [been] shot at.”
On the issue of mens rea, the court found that “each [petitioner] knew exactly
what Legaspi was going to do with the firearm he was given and they knew
the mortal danger he posed to the young men he was going to confront.” In
closing, the court determined the “jury made the correct verdict,” the
petitioners’ “sentences were commensurate with their actions,” and the
petitioners did not “fall within the spirit” of the murder resentencing law.
                                        III
                                  DISCUSSION
   A. Senate Bill No. 1437
      After Lara’s judgment became final, the Legislature passed Senate Bill
No. 1437, which went into effect January 1, 2019. The Legislature approved
the law to address a perceived “need ... to more equitably sentence offenders
in accordance with their involvement in homicides.” (Stats. 2018, ch. 1015,
§ 1(b).) In so doing, it recognized that, “It is a bedrock principle of the law
and of equity that a person should be punished for his or her actions
according to his or her own level of individual culpability.” (Id., § 1(d).)
      “With this purpose in mind, Senate Bill [No.] 1437 ‘amend[ed] the
felony murder rule and the natural and probable consequences doctrine, as it
relates to murder, to ensure that murder liability is not imposed on a person
who is not the actual killer, did not act with the intent to kill, or was not a
major participant in the underlying felony who acted with reckless
indifference to human life.’ (Stats. 2018, ch. 1015, § 1(f).) Outside of the
felony-murder rule, ‘a conviction for murder requires that a person act with
malice aforethought. A person’s culpability for murder must be premised
upon that person’s own actions and subjective mens rea.’ (Id., § 1(g).)”
(People v. Curiel (2023) 15 Cal.5th 433, 448 (Curiel).)


                                        12
      “Senate Bill [No.] 1437 altered the substantive law of murder in two
areas. First, with certain exceptions, it narrowed the application of the
felony-murder rule by adding section 189, subdivision (e) to the Penal Code.
Under that provision, ‘A participant in the perpetration or attempted
perpetration of a [specified felony] in which a death occurs is liable for
murder only if one of the following is proven: [¶] (1) The person was the
actual killer. [¶] (2) The person was not the actual killer, but, with the intent
to kill, aided, abetted, counseled, commanded, induced, solicited, requested,
or assisted the actual killer in the commission of murder in the first degree.
[¶] (3) The person was a major participant in the underlying felony and acted
with reckless indifference to human life, as described in subdivision (d) of
Section 190.2.’ (§ 189, subd. (e).)” (Curiel, supra, 15 Cal.5th at p. 448.)
      “Second, Senate Bill [No.] 1437 imposed a new requirement that, except
in cases of felony murder, ‘a principal in a crime shall act with malice
aforethought’ to be convicted of murder. (§ 188, subd. (a)(3).) ‘Malice shall
not be imputed to a person based solely on his or her participation in a crime.’
(Ibid.) One effect of this requirement was to eliminate liability for murder as
an aider and abettor under the natural and probable consequences doctrine.”
(Curiel, supra, 15 Cal.5th at p. 449.)
      “Senate Bill [No.] 1437 also enacted former section 1170.95, which
created a procedural mechanism ‘for those convicted of felony murder or
murder under the natural and probable consequences doctrine to seek relief’
where the two substantive changes described above affect a defendant’s
conviction.” (Curiel, supra, 15 Cal.5th at p. 449.) Thereafter, the Legislature
enacted Senate Bill No. 775, effective January 1, 2022, which ensured “that
persons who were convicted of attempted murder or manslaughter under a
theory of felony murder and the natural probable consequences doctrine are


                                         13
permitted the same relief as those persons convicted of murder under the
same theories.” (Stats. 2021, ch. 551, § 1(a).) A year later, “former section
1170.95 was renumbered as section 1172.6 without substantive change.
(Stats. 2022, ch. 58, § 10.)” (Curiel, at p. 449.) For the remainder of this
opinion, we refer to this statutory resentencing provision as section 1172.6.
      Under section 1172.6, a petitioner initiates the resentencing process by
filing a declaration averring that: (1) a charging document was filed against
the petitioner allowing the prosecution to proceed under a theory of felony
murder, natural and probable consequences murder, murder under another
theory by which malice is imputed to a person based solely on that person’s
participation in a crime, or attempted murder under the natural and
probable consequences doctrine; (2) the petitioner was convicted of murder,
attempted murder, or manslaughter following a trial, or accepted a plea offer
in lieu of a trial at which the petitioner could have been convicted of murder
or attempted murder; and (3) the petitioner could not presently be convicted
of murder or attempted murder because of the changes to the murder laws
that were implemented by Senate Bill No. 1437. (§ 1172.6, subds. (a)(1)–(3),
(b)(1).) If the petitioner states a prima facie case for relief, the court must
issue an order to show cause and, in most cases, the court must schedule an
evidentiary hearing to determine whether to vacate the murder, attempted
murder, or manslaughter conviction, recall the sentence, and resentence the
petitioner on any remaining counts. (Id., subds. (c), (d)(1).)
      At the evidentiary hearing, the prosecution bears the burden of
proving, beyond a reasonable doubt, that the petitioner is guilty of murder or
attempted murder under the amended laws. (§ 1172.6, subd. (d)(3).) “The
admission of evidence in the hearing shall be governed by the Evidence Code,
except that the court may consider evidence previously admitted at any prior


                                        14
hearing or trial that is admissible under current law, including witness
testimony, stipulated evidence, and matters judicially noticed. The court
may also consider the procedural history of the case recited in any prior
appellate opinion. … The prosecutor and the petitioner may also offer new
or additional evidence to meet their respective burdens. … If the prosecution
fails to sustain its burden of proof, the prior conviction, and any allegations
and enhancements attached to the conviction, shall be vacated and the
petitioner shall be resentenced on the remaining charges.” (Ibid.)
      On appeal from the denial of a resentencing petition after an
evidentiary hearing, we review the trial court’s factual findings for
substantial evidence and its application of the facts to the resentencing
statute de novo. (People v. Hill (2024) 100 Cal.App.5th 1055, 1066.) When
we review the court’s factual findings, “we consider the whole record in the
light most favorable to the superior court’s findings [citation], and we
presume ‘ “ ‘every fact in support of the judgment the trier of fact could have
reasonably deduced from the evidence.’ ” ’ [Citation.] We ask ‘whether
substantial evidence, defined as reasonable and credible evidence of solid
value, has been disclosed, permitting the trier of fact to find guilt beyond a
reasonable doubt.’ [Citation.] And based on this whole record review, we
‘ “determine whether any rational trier of fact could have found the essential
elements of the crime ... beyond a reasonable doubt.” ’ ” (Ibid.) So long as
“the trier of fact’s determination is supported, reversal is not warranted, even
where ‘ “ ‘the circumstances might also reasonably be reconciled with a
contrary finding.’ ” ’ ” (Ibid.) “ ‘ “The substantial evidence standard of review
is generally considered the most difficult standard of review to meet, as it
should be, because it is not the function of the reviewing court to determine
the facts.” ’ ” (People v. Johnson &amp; Johnson (2022) 77 Cal.App.5th 295, 329.)


                                       15
   B. Applicable Legal Principles
      “Murder is the unlawful killing of a human being, or a fetus, with
malice aforethought.” (§ 187, subd. (a).) “Malice may be express or implied.”
(In re Ferrell (2023) 14 Cal.5th 593, 600.) “Malice is express when a
defendant intends to kill ....” (Ibid.; see § 188, subd. (a)(1); People v. Landry
(2016) 2 Cal.5th 52, 96 [“A finding of express malice requires evidence of an
intent to kill”].) “ ‘Malice is implied when a person willfully does an act, the
natural and probable consequences of which are dangerous to human life,
and the person knowingly acts with conscious disregard for the danger to life
that the act poses.’ ” (People v. Beltran (2013) 56 Cal.4th 935, 941–942.)
      A defendant can “be convicted of murder (or other crimes) as a direct
perpetrator or as an aider and abettor.” (People v. Prado (2020) 49
Cal.App.5th 480, 487; see § 31.) “ ‘Aiding and abetting is not a separate
offense but a form of derivative liability for the underlying crime.’ [Citation.]
Thus, ‘[g]uilt as an aider and abettor is guilt “based on a combination of the
direct perpetrator’s acts and the aider and abettor’s own acts and own mental
state.” ’ ” (People v. Silva (2023) 87 Cal.App.5th 632, 639–640; Curiel, supra,
15 Cal.5th at p. 467 [“ ‘aider and abettor liability requires proof in three
distinct areas: (a) the direct perpetrator’s actus reus—a crime committed by
the direct perpetrator, (b) the aider and abettor’s mens rea’—which here
includes knowledge that the direct perpetrator intends to commit the crime
or life-endangering act, ‘and (c) the aider and abettor’s actus reus—conduct
by the aider and abettor that in fact assists the achievement of the crime’ ”].)
      “[T]o establish liability for murder under the theory of direct aiding and
abetting, ‘the prosecution must show that the defendant aided or encouraged
the commission of the murder with knowledge of the unlawful purpose of the
perpetrator and with the intent or purpose of committing, encouraging, or


                                        16
facilitating its commission.’ [Citation.] In addition, ... an aider and abettor
may be liable for murder under a theory of implied malice where the aider
and abettor aids in the commission of a life-endangering act, with
‘ “knowledge that the perpetrator intended to commit the act, intent to aid
the perpetrator in the commission of the act, knowledge that the act is
dangerous to human life, and acting in conscious disregard for human life.” ’ ”
(Curiel, supra, 15 Cal.5th at pp. 466–467.) Thus, an aider and abettor acts
with the requisite mens rea to sustain a murder conviction if she “know[s] the
direct perpetrator intends to commit [a] murder or life-endangering act and
intend[s] to aid the direct perpetrator in its commission.” (Id. at p. 468.)
      “ ‘Attempted murder requires the specific intent to kill and the
commission of a direct but ineffectual act toward accomplishing the intended
killing.’ ” (People v. Stone (2009) 46 Cal.4th 131, 136.) “A specific intent to
kill requires express malice. [Citation.] Implied malice cannot support a
conviction of attempted murder.” (People v. Rodriguez (2024) 103
Cal.App.5th 451, 456.) “[T]o be guilty of attempted murder as an aider and
abettor, a person must give aid or encouragement with knowledge of the
direct perpetrator’s intent to kill and with the purpose of facilitating the
direct perpetrator’s accomplishment of the intended killing—which means
that the person guilty of attempted murder as an aider and abettor must
intend to kill.” (People v. Lee (2003) 31 Cal.4th 613, 624.)
   C. Substantial Evidence Supports the Order Denying Resentencing
      There is no dispute between the parties that Legaspi was the direct
perpetrator of the crimes and Lara’s liability depends on whether he directly
aided and abetted Legaspi in the commission of the crimes. There is also no
dispute that the evidence admitted at the evidentiary hearing was sufficient
to support the trial court’s actus reus findings — i.e., its findings that


                                        17
Legaspi perpetrated the crimes and Lara assisted him in the commission of
the crimes by providing him with the murder weapon and helping him
dispose of it after the shootings. However, the parties disagree about
whether the evidence was sufficient to support the court’s findings that Lara
acted with the mens rea needed to sustain the convictions under a direct
aiding and abetting theory of liability. We conclude the evidence was
sufficient to support the court’s mens rea findings because there was
substantial evidence that Lara knew Legaspi intended to kill his victims and
Lara intended to aid Legaspi in the commission of the planned murders.
      At trial, Powers testified that Legaspi recounted to his fellow gang
members and affiliates that a group of Black men had attacked him earlier
that day. According to Powers, Legaspi told his comrades he believed at least
one of the attackers was armed with a firearm. Powers also testified that
Legaspi’s reporting of the incident prompted a member of the group (Roger)
to tease Legaspi, causing him to become angry and humiliated. After Legaspi
recounted his embarrassing attack to his fellow gang members, Salazar and
Legaspi walked to Lara’s house while saying, “let’s go get it, let’s go get it.”
There, Lara learned about the attack and discussed it with Todd and Powers
after Salazar and Legaspi left the garage for a short while, presumably in
search of a firearm. According to the prosecution’s gang expert, officer
Mayfield, an attack on a VR member would invite a response from the gang,
which could include shootings and homicides—especially where, as here, the
attackers outnumbered the VR members. This testimony established that
Legaspi had a motive to kill his attackers in retaliation for their attack on
him and Lara was aware of Legaspi’s deadly motive.
      Powers testified that he was asked to leave Lara’s garage after Salazar
and Legaspi returned to the garage. Still, he peeked in and witnessed Lara


                                        18
holding a black object with a red dot on its handle that was wrapped in a blue
bandana—an object that matched Powers’ description of the weapon Legaspi
later used to shoot his victims. At trial, officer Mayfield testified that Lara
was a “mid-level manager” within VR and he had the authority to oversee the
criminal activities of lower-level gang members. Mayfield also testified that
Lara could “make decisions” for the gang in his managerial position and
“send out lower-level gang members to do Varrio Redlands business.” From
this evidence, a reasonable fact finder could conclude Lara gave Legaspi the
loaded murder weapon as part of a joint plan—a plan sanctioned by Lara
himself—for Legaspi to kill his attackers, all while keeping their deadly plot
as secret as possible from non-gang members (Powers) until it unfolded.
      Additional evidence about the execution of the crimes suggests that
Lara knew Legaspi intended to kill and Lara sought to assist him in the
commission of the murders. Cell phone records showed that, on the night of
the shootings, Lara was in constant contact with Salazar, an accomplice who
drove Legaspi and Powers to the murder scene in search of the men who had
attacked him. After Legaspi claimed to have identified them, Salazar said,
“let’s get them.” According to Powers, Salazar kept the car running and the
car headlights turned off while Legaspi and Powers exited the car, suggesting
he anticipated the need for a speedy and covert getaway from the fatal attack
that was about to occur. There was also evidence showing that, after the
shootings, Salazar seemingly was not surprised by the fact Legaspi had just
unleashed a fusillade of bullets into his group of victims. According to
Powers, just moments after gunfire erupted and Legaspi returned to the car,
Salazar drove the car away at a normal speed and stayed silent—with no
discussion between Legaspi and Salazar. The evidence of constant
communication between Lara and Salazar, as well as the lack of any surprise


                                       19
or concern from Salazar after the fatal shootings, gives rise to a reasonable
inference the shootings were part of a planned and coordinated deadly attack
involving all three codefendants, not the result of an impulsive decision by
Legaspi.
      Furthermore, the fatal confrontation itself was executed by two young
teenagers, 17-year-old Legaspi and 16-year-old Powers, against a group that,
as far as Lara and the others knew, numbered between 10 and 15 (or perhaps
even more) men. As previously noted, Legaspi believed at least one of the
men in the opposing group was armed. Considering the evidence that Lara
and his codefendants anticipated a highly mismatched confrontation between
two opposing forces—a pair of teenagers on their side versus a large group of
10 to 15 men who were likely armed and had already attacked one VR gang
member earlier in the day—it is highly improbable Lara and his
codefendants planned a mere verbal taunt or physical assault against the
opposing side. Rather, it is more reasonable to infer from this evidence that
Legaspi planned to shoot and kill his attackers in retaliation for their earlier
assault and Lara knew of, and intended to promote, his plan to kill.
      Based on all of this evidence, we conclude there was substantial
evidence to support a reasonable finding the prosecution proved, beyond a
reasonable doubt, that Lara knew about Legaspi’s plan to kill and provided
assistance to him with the aim of aiding in the commission of the planned

killings.9 Because Lara does not challenge the sufficiency of the evidence of
any other element of his murder and attempted murder convictions, we


9     In light of our determination that the evidence was sufficient to prove
that Lara knew about Legaspi’s plan to kill, and that he intended to further
Legaspi’s murderous plot, it is unnecessary for us to address the sufficiency of
the evidence for the murder convictions under the alternative theory that
Lara aided and abetted implied malice murders.
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conclude the evidence was sufficient to support the denial of Lara’s petition
for resentencing.
                                      IV
                                DISPOSITION
      The order is affirmed.


                                                           McCONNELL, P. J.

WE CONCUR:


O’ROURKE, J.


IRION, J.




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